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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

3:13-ev-02171-SC

DELL INC, and DELL PRODUCTS L.P.,

Master File No. 3:07-cv-05944-SC (N.D. Cal.)
This Document Relates to Individual Case No. | MDL No. 1917

Plaintiffs, Individual Case No. 3:13-cv-02171-SC

V.

DECLARATION OF MARY PAPE IN

HITACHI, LTD., ef al., SUPPORT OF PLAINTIFFS DELL INC’S
AND DELL PRODUCTS L.P.’S
Defendants. ADMINSTRATIVE MOTION

DECL. OF MARY PAPE ISO
DELL’S ADMINISTRATIVE MOTION

No. 3:13-¢y-02171-5C
MDL No. 1917

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I, MARY PAPE, declare as follows:

1. I am Executive Director for Global Complex Litigation at Dell Inc. (“Dell”). I submit
this Declaration in support of Dell’s Administrative Motion to Confirm its Opt Out Request or, in the
Alternative, for an Enlargement of Time to Opt Out. I have personal knowledge of the facts stated
herein, and I could and would competently testify thereto if called as a witness.

2. I am a member in good standing of the State Bar of Texas.

3, As Executive Director for Global Complex Litigation, when Dell receives notices of
class action settlements, those notices are forwarded to my attention.

4, For example, when Dell received notices of settlements in the in re TFT-LCD (Flat
Panel) Antitrust Litigation, those notices were forwarded to me.

5. I did not receive a notice of the Direct Purchaser Plaintiff settlements with the SDI or
Hitachi Defendants (“Proposed Settlements”).

6. Upon learning that Dell’s opt out request for the Proposed Settlements was not received
by the opt out deadline, I investigated whether Dell received a notice of the Proposed Settlements.

7. To my knowledge, no one at Dell received a notice of the Proposed Settlements.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on July 22, 2014, in Austin, Texas.

By: /s/ Mary Pape

Mary Pape, Esq.
Executive Director, Global Complex Litigation
Dell Inc.
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DECL, OF MARY PAPE ISO No, 3:13-cv-02171-SC

DELL’S ADMINISTRATIVE MOTION MDL No. 1917

